
Irina Acupuncture, P.C., as Assignee of Andrew Pantin, Respondent, 
againstNationwide Affinity Insurance Company, Appellant.




Gialleonardo, Frankini &amp; Harms (Doris Rinck, Esq.), for appellant.
Law Offices of Emilia I. Rutigliano, P.C. (Marina Josovich, Esq.), for respondent.

Appeal from an order of the Civil Court of the City of New York, Queens County (William A. Viscovich, J.), entered May 14, 2014. The order, insofar as appealed from, granted the branches of plaintiff's motion seeking summary judgment on the first two causes of action and denied the branches of defendant's cross motion seeking summary judgment dismissing those causes of action.




ORDERED that the order, insofar as appealed from, is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, defendant appeals from so much of an order as granted the branches of plaintiff's motion seeking summary judgment on the first two causes of action and denied the branches of defendant's cross motion seeking summary judgment dismissing those causes of action.
Contrary to defendant's argument, the Civil Court properly granted the branches of plaintiff's motion seeking summary judgment on the first two causes of action and denied the branches of defendant's cross motion seeking summary judgment dismissing those causes of action on the ground that the first independent medical examination had not been scheduled to be held within 30 days of defendant's receipt of the claims underlying those causes of action, as required by 11 NYCRR 65-3.5 (d) (see W.H.O. Acupuncture, P.C. v Travelers Home &amp; Mar. Ins. Co., 36 Misc 3d 152[A], 2012 NY Slip Op 51707[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2012]; see also O &amp; M Med., P.C. v Travelers Indem. Co., 47 Misc 3d 134[A], 2015 NY Slip Op 50476[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2015]).
Accordingly, the order, insofar as appealed from, is affirmed. 
PESCE, P.J., ALIOTTA and SOLOMON, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: October 27, 2017










